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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                              )
JOSE MARIA DeCASTRO,                          )
a/k/a CHILLE DeCASTRO                         )
a/k/a/ DELETE LAWZ,                           )
                                              )
      Plaintiff,                              )
                                              )   C. A. No.: 1:22-cv-11421-ADB
      v.                                      )
                                              )
JOSHUA ABRAMS                                 )
a/k/a ACCOUNTABILITY FOR ALL,                 )
KATE PETER                                    )
a/k/a MASSHOLE TROLL MAFIA,                   )
                                              )
      Defendants.                             )
                                              )


                               NOTICE OF APPEARANCE

      Please enter the appearance of Benjamin J. Wish on behalf of, Kate Peter a/k/a

MASSHOLE TROLL MAFIA, in the above-captioned matter.


                                           Respectfully submitted,

                                           KATE PETER a/k/a MASSHOLE TROLL MAFIA,

                                           By her Attorneys,


                                           /s/ Benjamin J. Wish
                                           Benjamin J. Wish (BBO # 672743)
                                           Maria T. Davis (BBO # 675447)
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Dated: October 12, 2022
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                               CERTIFICATE OF SERVICE

      I, Benjamin J. Wish, hereby certify that on October 12, 2022, I caused the foregoing
document to be served via email upon the following counsel of record:

       Jose Maria DeCastro (Pro Se)
       1258 Franklin Street
       Santa Monica, CA 90404
       iamalaskan@gmail.com


                                            /s/ Benjamin J. Wish
                                            Benjamin J. Wish




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